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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

    JANIAH MONROE, MARILYN                            )
    MELENDEZ, LYDIA HELÉNA VISION,                    )
    SORA KUYKENDALL, and SASHA                        )
    REED, individually and on behalf of a class       )
    of similarly situated individuals,                )
                                                      )
                  Plaintiffs,                         )   Civil No. 3:18-cv-00156-NJR
                                                      )
    v.                                                )
                                                      )
    ROB JEFFREYS, MELVIN HINTON, and                  )
    STEVEN BOWMAN,                                    )
                                                      )
                  Defendants.                         )

                 JOINT PROPOSED SCHEDULE PURSUANT TO DKT. 494

         Pursuant to the Court’s December 16, 2022 Order (Dkt. 494 at ¶ 4), the parties submit the

attached schedule as Exhibit 1 indicating areas of agreement and disagreement for Defendants to

comply with the Court’s orders for injunctive relief. As directed, Exhibit 1 is based upon

Plaintiffs’ Proposed Scheduling Order submitted December 14, 2022 (Dkt. 485-1).

          On January 4, 2023, counsel for the parties met and conferred about Exhibit 1. As

Defendants did not file a counterproposal to Plaintiffs’ Recommendations as to Preliminary

Injunctions, it was difficult to discuss many of the parties’ substantive disagreements. See Dkt.

499. The parties continue to disagree about the scope and impact of Rasho v. Jeffreys, 22 F.4th

703 (7th Cir. 2022) and Westefer v. Neal, 682 F. 3d 670 (7th Cir. 2012) on the relief proposed by

Plaintiffs.1 The parties agreed, however, to work together with the Court-appointed Monitors



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 Defendants’ Response (Dkt. 499) invoked these decisions as reasons why certain changes
proposed by Plaintiffs need not be made. Plaintiffs noted inter alia that, unlike the orders
discussed in Rasho, the Court’s original remedial order here is over three years old; Rasho
explicitly states that the situation presented there was “[not] a case in which prison officials


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regarding (1) proposed modifications to IDOC’s Administrative Directive for transgender care

and hormone policy (see Dkt. 485-2-5) and (2) certain issues and proposed dates in the

scheduling order (see Exh. 1). The parties also agreed to adjust the dates in Plaintiffs’ original

Proposed Scheduling Order to account for the passage of time.

Dated: January 9, 2023                        Respectfully submitted by:

                                               /s/ Camille E. Bennett
 Amelia H. Bailey                              Camille E. Bennett
 Sam G. Rose                                   Michelle T. García
 Julia Zasso                                   Alexis Picard
 Ashton Dubey                                  ROGER BALDWIN FOUNDATION
 KIRKLAND & ELLIS LLP                          OF ACLU, INC.
 300 North LaSalle Street                      150 North Michigan Avenue, Suite 600
 Chicago, IL 60654                             Chicago, IL 60601
 Telephone: (312) 862-2000                     Telephone: (312) 201-9740
 Facsimile: (312) 862-2200                     Facsimile: (312) 288-5225
 amelia.bailey@kirkland.com                    cbennett@aclu-il.org
 sam.rose@kirkland.com                         mgarcia@aclu-il.org
 julia.zasso@kirkland.com
 ashton.dubey@kirkland.com

 Brent P. Ray                                  Abby L. Parsons
 KING & SPALDING LLP                           KING & SPALDING LLP
 110 N. Wacker Drive, Suite 3800               1100 Louisiana Street, Suite 4100
 Chicago, IL 60606                             Houston, TX 77002
 Telephone: (312) 995-6333                     Telephone: (713) 751-3294
 Facsimile: (312) 995-6330                     aparsons@kslaw.com
 bray@kslaw.com

 Thomas E. Kennedy III
 Sarah Jane Hunt
 KENNEDY HUNT P.C.
 906 Olive Street, Suite 200
 Saint Louis, MO 63101
 Telephone: (314) 872-9041
 tkennedy@KennedyHuntLaw.com
 sarahjane@KennedyHuntLaw.com

                                               Attorneys for Plaintiffs

persisted in taking steps they knew were insufficient to prevent the harm.” 22 F.4th at 711 (citing
Petties v. Carter, 836 F.3d 722, 730-31 (7th Cir. 2016)).



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                                   /s/ Lisa A. Cook (with consent)
                                   Lisa A. Cook
                                   Assistant Attorney General
                                   500 South Second Street
                                   Springfield, IL 62701
                                   Telephone: (217) 785-4555
                                   lisa.cook@ilag.gov

                                   R. Brandon Shultz
                                   Assistant Attorney General
                                   Metro East Office
                                   201 West Pointe Drive, Suite 7
                                   Belleville, IL 62226
                                   Telephone: (618) 236-8781
                                   robert.shultz@ilag.gov

                                   Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I certify that on January 9, 2023, I electronically filed the foregoing document and any

exhibits with the Clerk of this Court by using the CM/ECF system, which will accomplish service

through the Notice of Electronic Filing for parties and attorneys who are Filing Users.


                                             By: /s/ Camille E. Bennett




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